                  IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                              1:21-CV-00765

THE MCCLATCHY COMPANY d/b/a
THE NEWS AND OBSERVER
PUBLISHING COMPANY; CAPITOL
BROADCASTING COMPANY,
INCORPORATED; DEMAYO LAW
OFFICES, LLP; MARCARI, RUSSOTTO,
SPENCER & BALABAN, P.C.

             Plaintiffs,                            JOINT RULE 26(f) REPORT

        v.

TOWN OF CHAPEL HILL, NORTH
CAROLINA,

             Defendant.



        1.    Pursuant to Fed.R.Civ.P. 26(f) and LR 16.1(b), a telephone conference was

held on January 5, 2022, and was attended by Bradley M. Risinger for Plaintiffs and Dan

Hartzog, Jr. for Defendant Town of Chapel Hill, North Carolina.

        2.    The parties will exchange the information required under Fed. R. Civ. P.

26(a)(1) within fourteen (14) days of approval of this report by the Court. Documents

required to be disclosed under Rule 26(a)(1)(ii) or (iv) or provided produced pursuant to

Rule 34 shall be provided (and not merely made available for inspection and copying) to

the opposing party by said date either electronically or in hard copy.

        3.    Discovery Plan. The parties propose to the Court the following discovery

plan:




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            a. The “commencement date” of discovery will be: January 21, 2022.

            b. Discovery will be needed on all matters raised by the pleadings. Because the

               case involves a request for a declaratory judgment regarding the meaning and

               application of a federal statute, the parties expect that their discovery needs

               will be relatively modest.

            c. Discovery should be placed on a case-management track established in LR

               26.1. The parties agree that the appropriate plan for this case is that

               designated in LR 26.1(a)(1) as: Standard, with a modification that discovery

               be completed within five (5) months instead of the presumptive four (4). The

               parties agree that the presumptive limitations on interrogatories, requests for

               admission and depositions in the Standard track should apply.

            d. The date for completion of all discovery (general and expert) is June 21,

               2022.

            e. Reports required by Rule 26(a)(2)(B) and disclosures required by Rule

               26(a)(2)(C) are due by April 26, 2022. If any such report and disclosure is

               timely made, the opposing party may serve corresponding rebuttal reports

               and disclosures by May 24, 2022.

         Supplementations will be as provided in Rule 26(e) or as otherwise ordered by the

Court.




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       4.      Mediation. Mediation should be conducted midway in the discovery period,

the exact date to be set by the mediator after consultation with the parties. The parties agree

that the mediator shall be Robert Beason.

       5.      Preliminary Deposition Schedule. Preliminarily, the parties agree that all

depositions shall be completed by June 21, 2022. The parties will update this schedule at

reasonable intervals.

       6.      Other items.

            a. Plaintiffs should be allowed until March 11, 2022 to request leave to join

               additional parties or amend pleadings. Defendant should be allowed until

               March 11, 2022 to request leave to join additional parties or amend

               pleadings. After these dates, the Court will consider, inter alia, whether the

               granting of leave would delay trial.

            b. The parties agree that electronically stored information may be produced in

               pdf or single-page tiff format.

            c. The parties have discussed special procedures for managing this case,

               including reference of the case to a Magistrate Judge on consent of the parties

               under 28 U.S.C. §§636(c), or appointment of a master. They have agreed

               that reference to a magistrate judge or a master will not be necessary.

            d. Dispositive motions, if any, shall be filed in accordance with Local Rule

               56.1.




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         e. Trial of the action is expected to take approximately two (2) days. A jury

             trial has been demanded.

         f. The parties discussed whether the case will involve the possibility of

             confidential or sealed documents, and they do not believe the case will

             involve such documents. Thus, the parties have not filed a separate report

             under LR 5.5.

      Respectfully submitted, this the 19th day of January 2022.



/s/Bradley M. Risinger                         /s/Dan Hartzog, Jr.
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